       Case 1-18-40878-ess            Doc 11       Filed 03/05/18     Entered 03/05/18 18:41:26




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:

JANET CORTEZ,                                                       Case No. 18-40878

                                    Debtor.                         Chapter 7
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             DECLARATION OF DEBTOR REGARDING PAYMENT ADVICES

        Janet Cortez, the above-captioned debtor, hereby declares as follows:

        1.       Bankruptcy Code Section 521 requires consumer debtors to file payment advices

reflecting the income received by an employer in the 60 days preceding the filing of a

bankruptcy petition. Attached are the paystubs I received during that period.

        2.       I swear under penalty of perjury that the foregoing is true and accurate.


Dated: March 5, 2018
       Astoria, New York
                                                                      /s/Janet Cortez
                                                                    Janet Cortez
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